                           Case 5:20-cr-00168-G Document 50 Filed 04/09/21 Page 1 of 12


                                                                                                                                                            Page 2

          APR 0 9 2021
                                 MOTION UNDER 28 U.S.C.§ 2255 TO VACATE,SET ASIDE, OR CORRECT
 CARMELITA RFEDcR SHINN, CLERK                    SENTENCE BY A PERSON IN FEDERAL CUSTODY
U.S. CMST. Cpyfi^VESTERN DIST. OKIA
BY

                United States District Court                                               Western District of Oklahoma


                Name (under which you were convicted):                                                                 Docket or Case No.:

                CHKIST0P/i£R STEVEN L£OBBTrB/l M-20-255-5AI
                Place ot Confinement:                                                                     . 1 Prisoner No.:



                UNITED STATES Of AMEWCA                                      Movant(include name under which convictedl

                                                                        'CHRIST0/>H£K STBVBN LEpfitTTgR


                                                                                 MOTION

                   (a)Name and location ofcourt that entered thejudgment ofconviction you are challenging: Uni+eoj SMes CourfUs&
                         ■Z OO N/.W.                                     SA-yeet
                           OkLal,„v«a                      ClU,             OK          73 102.

                   (b) Criminal docket or case number (if you know):
           2.      (a) Date of the judgment of conviction (if you know):


                   (b) Date of sentencing: D Q C Q. Wl ho. ^                    ^^           ^ 0 2-0
           3. Length of sentence:           5 7 tOI O yrhhs
           4. Nature of crimene(allcounts'):
                               (all counts):         /I    COe/j^-r            Po SS^sSi on fs'
                                                                               fOSS^sSion                                                    Goh
                                  (li u-s.c. ^ <ji2.zrc)n) J

           5.      (a) What was your plea? (Check one)
                         (1) Not guilty □ (2) Guil^ K                     (3) Nolo contendere (no contest) □
                   (b) Ifyou entered a guilty plea to one count or indictment, and a not guilty plea to another count or indictment, what did you plead guilty to
                   and what did you plead not guilty to?




           6,      If you went to trial, what kind oftrial did you have? (Check one)             Jury □       Judge only □
Case 5:20-cr-00168-G Document 50 Filed 04/09/21 Page 2 of 12
Case 5:20-cr-00168-G Document 50 Filed 04/09/21 Page 3 of 12
Case 5:20-cr-00168-G Document 50 Filed 04/09/21 Page 4 of 12
Case 5:20-cr-00168-G Document 50 Filed 04/09/21 Page 5 of 12
Case 5:20-cr-00168-G Document 50 Filed 04/09/21 Page 6 of 12
Case 5:20-cr-00168-G Document 50 Filed 04/09/21 Page 7 of 12
Case 5:20-cr-00168-G Document 50 Filed 04/09/21 Page 8 of 12
Case 5:20-cr-00168-G Document 50 Filed 04/09/21 Page 9 of 12
Case 5:20-cr-00168-G Document 50 Filed 04/09/21 Page 10 of 12
Case 5:20-cr-00168-G Document 50 Filed 04/09/21 Page 11 of 12
Case 5:20-cr-00168-G Document 50 Filed 04/09/21 Page 12 of 12
